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 8                                IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   SALVADOR MENA,

11                   Plaintiff,                     No. CIV S-03-2024 MCE GGH P

12             vs.

13   MIKE KNOWLES, et al,

14                   Defendants.                    ORDER

15                                          /

16                   Plaintiff has requested an extension of time to file objections to the court’s

17   Findings and Recommendations, filed on February 23, 2007. Plaintiff, predicating his request

18   upon a wholly erroneous and unfounded hypothesis, has not shown good cause.

19                   Accordingly, IT IS HEREBY ORDERED that plaintiff's March 15, 2006, request

20   for an extension of time to file objections to the February 23, 2007, Findings and

21   Recommendations, is denied for insufficient cause.

22   DATED: 3/16/07
                                                    /s/ Gregory G. Hollows
23
                                                    UNITED STATES MAGISTRATE JUDGE
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